            Case 3:18-cv-00667-SI      Document 1     Filed 01/12/18    Page 1 of 25




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Attorneys for Plaintiffs
                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


JORDAN ROBBINS, individually and on
behalf of all others similarly situated,             Civil Action No.

       Plaintiffs,                                   CLASS ACTION COMPLAINT AND
                                                     DEMAND FOR JURY TRIAL
vs.

INTEL CORPORATION,

       Defendant.


       Plaintiff Jordan Robbins, on behalf of himself and all others similarly situated, on

personal knowledge as to the facts concerning himself, on information and belief as to all other

matters, and based on the investigation of counsel and public statements, bring this class action

against Intel Corporation (“Intel” or “Defendant”) pursuant to applicable state laws and allege

as follows:

                                  I.       INTRODUCTION

       1.       This case concerns Defendant’s campaign to foist defective Intel x86-64x core

processors (“CPUs” or “Defective CPUs”) on individuals, businesses, municipalities, school
            Case 3:18-cv-00667-SI      Document 1      Filed 01/12/18     Page 2 of 25




districts, universities, and other consumers throughout the United States.       Consumers paid

millions of dollars for Defective CPUs Intel touted as premium products using breakthrough

technology that featured unmatched performance.

       2.       The Defective CPUs were inherently and materially defective. Defendant’s CPUs

suffer from a severe security vulnerability, which allows attackers to steal sensitive kernel data,

including passwords and banking information.

       3.       While Intel has yet to come forth with a full and candid description of all facts

known only to it concerning the unprecedented security vulnerability, what Intel has admitted is

damning. Intel admits that the security defects affect virtually every modern computer, including

smartphones, tablets and PCs from all vendors and running almost any operating system, and

render the Defective CPUs unfit for their intended use and purpose. Indeed, the vulnerability is

thought to affect Intel’s CPUs manufactured since 1995, excluding the company’s Itanium server

chips and Atom processors before 2013.

       4.       Despite its knowledge of the Defective CPUs, Defendant has been unable or

unwilling to repair the defect or offer Plaintiff and Class Members a non-defective Intel CPU or

reimbursement for the cost of such Defective CPUs and the consequential damages arising the

purchase and use of the CPUs.         The only so-called “patch” available for this security

vulnerability requires extensive changes to the root levels of the Operating System which will

dramatically reduce performance of the CPUs. Worse still, while the so-called “patch” will

dramatically degrade the CPUs performance, it does not completely fix the defect. The only true

fix would be to exchange the Defective CPUs with a device containing a processor not subject to

this security vulnerability. Plaintiff and Class Members are thus left with the unappealing choice

of either purchasing a new computer containing a CPU that does not contain the defect,




                                                2
            Case 3:18-cv-00667-SI        Document 1       Filed 01/12/18     Page 3 of 25




continuing to use a computer with massive security vulnerabilities, or one with significant

performance degradation.

       5.        In short, from the moment Plaintiff and Class Members purchased their devices

containing the Defective CPUs, they were an inferior, defective product that, by design and

composition, did not have the qualities or properties Intel continuously represented in its sales

and marketing materials. The Defective CPUs were neither designed nor engineered to be used

for the ordinary, expected purpose as high performing and secure.

       6.        Intel has admitted it knew all this months ago (since at least June 1, 2017) and yet,

despite the breadth and severity of the security defect, it continued to market and sell the

Defective CPUs. Defendant hid its lies and ignored its promises until the security defects were

discovered and disclosed by academic and industry researchers from several countries.

       7.        With sweeping, deceptive, and misleading statements, Intel induced consumers

into buying devices with its Defective CPUs. Intel sold millions of Defective CPUs in nearly all

50 states and the District of Columbia. Intel charged a premium price for its Defective CPUs and

took in millions (likely billions) in revenue on sales. Intel’s revenues for just Q3 2017 – the time

period when Intel was well aware of the security defect but concealed it from the public – totaled

$16.1 billion.

       8.        Astonishingly, even as Intel failed to protect Plaintiff and tens of millions of other

consumers, its CEO – Brian Krzanich – sold off $24,000,000.00 worth of stock and options in

the company in November 2017. The stock sale came after Intel had been informed of a

significant vulnerability in its CPUs but more than a month before Intel told Plaintiff and the rest

of the public.




                                                   3
               Case 3:18-cv-00667-SI       Document 1      Filed 01/12/18      Page 4 of 25




          9.       Intel’s actions and omissions violate well established legal and statutory duties it

owed to Plaintiff and all other similarly situated United States consumers.

          10.      Plaintiff brings this class action on behalf of themselves and all similarly situated

consumers for actual and statutory damages, as well as punitive damages and equitable relief to

fully redress the vast harm Intel’s wrongful acts have unleashed on United States consumers.

                                            II.     PARTIES

A.        Plaintiff

          11.      Plaintiff Jordan Robbins is a citizen of Port Norris, New Jersey. Mr. Robbins

owns a Dell XPS 8910 with an Intel i7 processor, which was purchased new on or about January

22, 2017 for over $1,300.00 from Purchasing Power, LLC at www.purchasingpower.com. Mr.

Robbin’s Dell XPS 8910 was covered by a written warranty. Prior to purchasing a Dell XPS

8910, Mr. Robbins viewed and heard commercials that touted Intel’s long record of unmatched

performance, security, and quality. Mr. Robbins uses his Dell XPS 8910 as a DJ and uses

applications such as Vitual DJ Pro, FL Studio, and numerous streaming services and depends on

both its performance and security. Mr. Robbins was unaware of the CPU’s defect described

herein prior to his purchase of this computer. Had Intel disclosed such material facts Mr.

Robbins would not have purchased Dell XPS 8910 with Intel’s Defective CPU or paid the price

he did.

B.        Defendant

          12.      Defendant Intel Corporation is a Delaware corporation with its principal place of

business located at 2200 Mission College Blvd., Santa Clara, California. At all relevant times,

Defendant designed, manufactured, distributed, marketed, and sold the Defective CPUs

throughout the United States.




                                                     4
           Case 3:18-cv-00667-SI          Document 1     Filed 01/12/18      Page 5 of 25




                               III.    JURISDICTION AND VENUE

        13.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1337, as well as jurisdiction over the state law claims pursuant to 28 U.S.C.

§§ 1332(d) and 1367 because this is a class action in which the matter or controversy exceeds the

sum of $5,000,000, exclusive of interest and costs, and in which some members of the proposed

Classes are citizens of a state different from the Defendant.

        14.        Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 (b), (c), and (d),

because a substantial part of the events giving rise to Plaintiff’s claims occurred in this District.

        15.        This Court has personal jurisdiction because Defendant does business in this

District and a substantial part of the events and injury giving rise to Plaintiff’s claims occurred in

this District.

                 IV.   FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

        16.        Intel designed, manufactured, marketed, sold, and warranted its Defective CPUs

in New Jersey and throughout the United States. As a leader in the United States CPU industry,

Intel knows the critical importance of both performance and protection of consumers’ sensitive

data from unauthorized access. Intel also knows the multitude of harms that foreseeably flow to

individual consumers when sensitive data is stolen by criminals, including identify theft, fraud,

credit and reputational harm, erroneous tax claims, extortion, etc.

        17.        Intel promoted and touted the Defective CPUs as achieving “unmatched

performance” levels for consumers, servers, and workstations. Marketing its products “as the

most secure in the world”, Intel also assured the public that its Defective CPUs adequately

safeguarded the privacy and security of information. Intel unreasonably and negligently failed to

take appropriate steps to secure Plaintiff’s and Class Members’ personal identifying information.




                                                   5
           Case 3:18-cv-00667-SI        Document 1      Filed 01/12/18     Page 6 of 25




A.       Intel’s CPUs Security Defect

         18.   Intel’s Defective CPUs have a defect that is inherent within the CPU itself and/or

the result of software or hardware design or manufacturing flaws.

         19.   Recent news stories revealed that Intel’s CPUs contain serious design defects that

created severe security vulnerabilities for any device that uses Intel’s CPUs. The security flaws,

named Meltdown and Spectre, were discovered by security researchers at Google’s Project Zero

in conjunction with academic and industry researchers from several countries. Combined they

affect virtually every modern computer, including smartphones, tablets and PCs from all vendors

and running almost any operating system.

         20.   Meltdown is currently thought to primarily affect Intel CPUs manufactured since

1995, excluding the company’s Itanium server chips and Atom processors before 2013. It could

allow hackers to bypass the hardware barrier between applications run by users and the

computer’s core memory.

         21.   The Spectre flaw affects most modern Intel CPUs, and potentially allows hackers

to trick otherwise error-free applications into giving up secret information.

         22.   Indeed, the Register reported that:

               A fundamental design flaw in Intel's processor chips has forced a
               significant redesign of the Linux and Windows kernels to defang
               the chip-level security bug…. Similar operating systems, such as
               Apple's 64-bit macOS, will also need to be updated – the flaw is in
               the Intel x86-64 hardware, and it appears a microcode update can't
               address it. It has to be fixed in software at the OS level, or go buy
               a new processor without the design blunder.

See https://www.theregister.co.uk/2018/01/02/intel_cpu_design_flaw/ (last visited January 9,

2018).

         23.   Intel’s security defect is material because:




                                                 6
          Case 3:18-cv-00667-SI        Document 1       Filed 01/12/18     Page 7 of 25




               At best, the vulnerability could be leveraged by malware and
               hackers to more easily exploit other security bugs. At worst, the
               hole could be abused by programs and logged-in users to read the
               contents of the kernel's memory…. The kernel's memory space is
               hidden from user processes and programs because it may contain
               all sorts of secrets, such as passwords, login keys, files cached
               from disk, and so on. Imagine a piece of JavaScript running in a
               browser, or malicious software running on a shared public cloud
               server, able to sniff sensitive kernel-protected data.

Id.

       24.     According to Daniel Gruss, one of the researchers at Graz University of

Technology who discovered the defect, the security vulnerability found in Intel’s Defective

CPUs is “probably one of the worst CPU bugs ever found”.

       25.     Worse still, on or about January 2, 2018, it was revealed that a “patch” was

available to the Meltdown vulnerability which reduces the performance of the CPUs thereby

causing the CPUs to slow down from the performance specifications that Defendant promised

and that Plaintiff and Class Members expected when buying a computer with an Intel CPU. The

so-called “patch” requires a change to the way the operating system handles memory. The root

level changes to the operating system cause substantial CPU performance degradation. Initial

speed estimates predict a decrease in performance by as much as 30-50%. Spectre is harder to

fix and will continue to be a significant vulnerability even with the “patch”.

       26.     As the Register explained, the root level changes to the operating system

“separate the kernel's memory completely from user processes using what's called Kernel Page

Table Isolation, or KPTI.” Id. The impact on performance is that:

               Whenever a running program needs to do anything useful – such as
               write to a file or open a network connection – it has to temporarily
               hand control of the processor to the kernel to carry out the job. To
               make the transition from user mode to kernel mode and back to
               user mode as fast and efficient as possible, the kernel is present in




                                                 7
          Case 3:18-cv-00667-SI         Document 1       Filed 01/12/18      Page 8 of 25




               all processes' virtual memory address spaces, although it is
               invisible to these programs. When the kernel is needed, the
               program makes a system call, the processor switches to kernel
               mode and enters the kernel. When it is done, the CPU is told to
               switch back to user mode, and reenter the process. While in user
               mode, the kernel's code and data remains out of sight but present in
               the process's page tables.

               Think of the kernel as God sitting on a cloud, looking down on
               Earth. It's there, and no normal being can see it, yet they can pray
               to it.

               These KPTI patches move the kernel into a completely separate
               address space, so it's not just invisible to a running process, it's not
               even there at all. Really, this shouldn't be needed, but clearly there
               is a flaw in Intel's silicon that allows kernel access protections to
               be bypassed in some way.

               The downside to this separation is that it is relatively expensive,
               time wise, to keep switching between two separate address spaces
               for every system call and for every interrupt from the hardware.
               These context switches do not happen instantly, and they force the
               processor to dump cached data and reload information from
               memory. This increases the kernel's overhead, and slows down the
               computer.

               Your Intel-powered machine will run slower as a result.

Id.

       27.     The security defect is material because neither Plaintiff, Class Members, nor any

reasonable consumer would have purchased Intel’s Defective CPUs at the price that they paid

had they known or had they been told by Intel or its retail agents about the security defects prior

to purchase.   It is also unprecedented in scope in that it exposes millions of Intel-based

computers to critical vulnerabilities and hacking and the “patch” to cure these security

vulnerabilities will result in substantial performance degradation.

B.     Intel Knew the Defective CPUs Were Not What It Represented




                                                  8
            Case 3:18-cv-00667-SI        Document 1             Filed 01/12/18      Page 9 of 25




        28.      Itel’s technical and security systems were so flawed that Intel likely knew or had

reason to believe that a security defect existed in its CPUs for months or even years before it

finally made a public announcement. It is clear that Intel finally made the defect public only

after this unprecedented security vulnerability was discovered – by other technology companies,

including Google and other research teams throughout the world.

        29.      Even after Intel learned of the security defect, it unreasonably delayed disclosing

the vulnerability for months, thereby increasing the exposure, risks, and injury to Plaintiff and

Class Members.

        30.      On January 3, 2018, Intel issued a press release and for the first time responded

the news media reports concerning the unprecedented security defect in its CPUs. In its press

release, Intel admitted that it had “been made aware of new security research describing software

analysis methods that, when used for malicious purposes, have the potential to improperly gather

sensitive     data   from    computing     devices       that     are   operating    as   designed.”   See

https://newsroom.intel.com/news/intel-responds-to-security-research-findings/              (last   visited

January 9, 2018).

        31.      Intel failed to disclose that it had been aware of the security defects in its CPUs as

early as June 1, 2017, if not far earlier. Google said it informed Intel about the Spectre flaw on

June 1, 2017 and later reported the Meltdown flaw before July 28, 2017. Google and the security

researchers it worked with said it was not known whether hackers had already exploited

Meltdown or Spectre and that detecting such intrusions would be very difficult as it would not

leave any traces in log files.

        32.      Despite its knowledge, Intel concealed the security defect from consumers and

continued marketing its CPUs as the most secure products in the world.




                                                     9
         Case 3:18-cv-00667-SI        Document 1       Filed 01/12/18     Page 10 of 25




       33.     During this delay and before the defect was made public, Intel CEO Brian

Krzanich sold off a large portion of his stake in the company – $24,000,000.00 – months after

Google had informed Intel of the significant security vulnerability in its flagship CPUs — but

before the problem was publicly known. The stock sale left Krzanich with just 250,000 shares of

Intel stock — the minimum the company requires him to hold under his employment agreement.

       34.     By withholding the facts concerning the unprecedented security vulnerability,

Intel put its own interests ahead of the very consumers who placed their trust and confident in

Intel and benefitted itself to the detriment of Plaintiff and Class Members.

       35.     As a direct and proximate result of Intel’s actions and omissions, Plaintiff and

similarly situated consumers have been harmed, injured, and damaged. Intel’s Defective CPUs

suffer from a defect that exposed the CPUs to critical security vulnerabilities and that proposed

OS-level “patches” will slow the performance of these Defective CPUs. Not only will any

“patch” directly impact the performance of a particular user’s Intel-based device, but they will

have indirect performance impacts. Countless servers that run internet-connected services in the

cloud will see a dramatic degradation in performance, which will have a downstream impact to

all users of these servers. Thus, cloud-based services like Microsoft, Google, and Amazon will

see substantial performance degradation. These harms were reasonably foreseeable to Intel.


V.     CLASS ACTION ALLEGATIONS

       36.     Plaintiff bring all claims as class claims under Rules 23(a) and (b)(3) of the

Federal Rules of Civil Procedure.

       37.     Plaintiff bring his claim on his own behalf, and on behalf of two proposed

nationwide classes (“National Classes”), defined as follows:




                                                10
         Case 3:18-cv-00667-SI           Document 1       Filed 01/12/18      Page 11 of 25




                      i. National Class 1: All United States residents who purchased one or more

                         x86-64x core processors from Intel or its authorized retailer sellers.

                     ii. National Class 2: All United States businesses, municipalities, school

                         districts, universities, and other organizations that purchased one or more

                         x86-64x core processors from Intel or its authorized retailer sellers.

       38.        Plaintiff also seeks to represent the following sub-classes (collectively, the “New

Jersey Subclasses”), as well as any subclasses or alternative issue(s) classes as Plaintiff may

propose or which the Court may designate at the time of class certification:

                      i. New Jersey Subclass 1: All residents of the State of New Jersey who

                         purchased one or more x86-64x core processors from Intel or its

                         authorized retailer sellers.

                     ii. New Jersey Subclass 2: All businesses, municipalities, school districts,

                         universities, and other organizations in the State of New Jersey that

                         purchased one or more x86-64x core processors from Intel or its

                         authorized retailer sellers.

       39.        Plaintiff reserves the right to modify or amend the definition of the proposed

classes before the Court determines whether certification is appropriate.

       40.        The National Classes and the New Jersey Subclasses are referred to, collectively,

as the Classes.

       41.        Excluded from the Classes are: the Defendant; any of its corporate affiliates; any

of its directors, officers, or employees; any persons who timely elects to be excluded from any of

the Classes; any government entities; and any judge to whom this case is assigned and his or her

immediate family, law clerks, and court staff.




                                                    11
         Case 3:18-cv-00667-SI         Document 1       Filed 01/12/18    Page 12 of 25




       42.     The Classes are so numerous that joinder of individual members thereof is

impracticable. Plaintiff believes that there are millions of members throughout the United States.

The precise number and identities of Class Members are unknown to Plaintiff, but are known to

Defendant or can be ascertained through discovery, using records of sales, warranty records, and

other information kept by Defendant or its agents.

       43.     Common questions of law and fact exist as to all members of the Classes and, as

appropriate, the members of each Subclass. The questions of law and fact common to the

Classes include:

                     i. Whether Defendant’s CPUs are defective and the nature of that defect;

                    ii. Whether and when Defendant had knowledge of the defect in its CPUs;

                    iii. Whether Defendant concealed defects in its CPUs;

                    iv. Whether Defendant had a duty to disclose material facts to Plaintiff and

                        the Classes regarding defects in its CPUs;

                     v. Whether Defendant’s omissions regarding the CPUs were likely to

                        deceive Plaintiff and the Classes;

                    vi. Whether Defendant’s alleged conduct constitutes the use or employment

                        of an unconscionable commercial practice, deception, fraud, false

                        pretense, false promise and misrepresentation within the meaning of the

                        applicable state consumer fraud statutes;

                   vii. Whether Defendant has been unjustly enriched under applicable state

                        laws;

                   viii. Whether Defendant has violated its express warranties to Plaintiff and the

                        Classes;




                                                 12
         Case 3:18-cv-00667-SI         Document 1       Filed 01/12/18      Page 13 of 25




                  ix. Whether Defendant has violated the implied warranty of merchantability

                       under applicable state law;

                   x. Whether Defendant actively concealed the security defect in order to

                       maximize profits to the detriment of Plaintiff and the Classes;

                  xi. Whether Plaintiff and the Class Members are entitled to damages,

                       restitution, disgorgement, equitable relief, or other relief; and

                 xii. The amount and nature of such relief to be awarded to Plaintiff and the

                       Classes, including the appropriate class-wide measure of damages for the

                       Classes.

       44.     The determination of the truth or falsity of these and other questions will resolve

an issue that is central to the validity of each one of the claims (depending on the cause of action

asserted) in one stroke. These and other questions will need to be answered in connection with

every Class Member’s claim (depending on the cause of action asserted). These questions will

generate common answers apt to drive the resolution of the litigation.

       45.     Plaintiff’s claims are typical of the claims of the absent members of the Classes

because they arise from the same course of conduct by Defendant and are based on the same

legal theories as do the claims of all other members of the respective Class or Subclass.

Moreover, Plaintiff seeks the same forms of relief for himself as they do on behalf of absent

Class Members.

       46.     Plaintiff will fairly and adequately protect the interests of the absent members of

the Classes. Because their claims are typical of the respective Class or Subclass that they seek to

represent, Plaintiff has every incentive to pursue those claims vigorously.       Plaintiff’s interests

are coincident with, and not antagonistic to, those of the absent members of the Classes.




                                                 13
           Case 3:18-cv-00667-SI        Document 1      Filed 01/12/18   Page 14 of 25




Moreover, Plaintiff is represented by counsel competent and experienced in the prosecution of

class action and, in particular, consumer protection litigation.

          47.   Certification of the Classes under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is appropriate because the questions of law and fact common to the members of the

Classes set forth in paragraph 44 above predominate over any questions affecting only individual

members, including legal and factual issues relating to liability and damages.

          48.   In addition, class action treatment under Rule 23(b)(3) is a superior method for

the fair and efficient adjudication of this controversy. Among other things, such treatment will

permit a large number of similarly situated persons to prosecute their common claims in a single

forum simultaneously, efficiently and without the unnecessary duplication of evidence, effort

and expense if numerous individual actions. Furthermore, although the damages suffered by

members of each of the proposed Classes are substantial in the aggregate, the damages to any

individual member of the proposed Classes would be insufficient to justify individually

controlling the prosecution of separate actions against Defendant. The benefits of proceeding on

a class-wide basis, including providing injured persons or entities with a method for obtaining

redress for claims that might not be practicable to pursue individually, substantially outweigh

any potential difficulties in managing this class action.

                                  VI.     CAUSES OF ACTION

A.        Claims Brought on Behalf of the Nationwide Class.

                                             COUNT I

                       FRAUD AND FRAUDULENT CONCEALMENT

          49.   Plaintiff realleges and incorporates the preceding paragraphs as if fully set forth

herein.




                                                 14
         Case 3:18-cv-00667-SI         Document 1      Filed 01/12/18     Page 15 of 25




       50.      Plaintiff brings this cause of action for himself and on behalf of the Nationwide

Classes under the common law of fraud, which is materially uniform in all states. In the

alternative, Plaintiff brings this claim on behalf of the New Jersey Subclasses.

       51.      As described above, Defendant defrauded Plaintiffs and Class Members by

knowingly and intentionally concealing from them and the public at large the existence of the

security flaw while representing that its Defective CPUs had superior design, security, and

quality, with “unmatched” performance.

       52.

       53.      Defendant’s concealment was deceptive and false. Defendant knew or should

have known of the security defect and concealed the thrue nature of its chips through false

statements to induce Plaintiffs and Class members to buy Defective CPUs, as well as avoid

Defendant’s warranty obligations, and achieve windfall profits at the expense of Plaintiffs and all

Class Members.

       54.      Plaintiffs and Class Members had no reasonable means of knowing that

Defendant’s representations were false and misleading.

       55.      Defendant’s actions constitute actual fraud and deceit because Defendant did the

following with the intent to deceive Plaintiffs and Class Member and to induce them to enter into

purchasing Defective CPUs:

             a. Concealing the existence or possible existence of the security flaw;

             b. Suggesting that the Defective CPUs were far superior to anything on the market

                with unmatched performance, security, and quality, even though it knew this to be

                not true; and




                                                 15
         Case 3:18-cv-00667-SI        Document 1      Filed 01/12/18    Page 16 of 25




             c. Positively asserting that the Defective CPUs were far superior to anything on the

                market with unmatched performance, security, and quality, in a manner not

                warranted by the information available to Defendant.

       56.      Defendant’s misrepresentations were material in that they would affect a

reasonable consumer’s decision to purchase Defendant’s Defective CPUs. Plaintiff and Class

Members paid a premium for Intel CPUs precisely because they purportedly offered superior

quality and performance than anything on the market.          Whether Defendant’s CPUs were

defective would have been an important factor in Plaintiff’s and the Class Members’ decisions to

purchase or obtain Intel CPUs.

       57.      Defendant’s intentionally deceptive conduct induced Plaintiff’s and Class

Members to purchase Defective CPUs and resulted in harm and damage to them.

       58.      Plaintiff believed and relied to his detriment upon Defendant’s affirmative

misrepresentations. Class Members are presumed to have believed and relied upon Defendant’s

misrepresentations because those facts are material to a reasonable consumer’s decision to

purchase Intel CPUs.

       59.      Defendant also fraudulently concealed and suppressed material facts regarding the

Defective CPUs. Despite knowing about the security vulnerability for months or years prior to

disclosure to the public, Defendant continues to promote and tout its products as the most secure

devices in the world. It knew when it marketed and sold the CPUs that the CPUs were inferior in

composition and design and did not have the superior security Defendant represented, nor the

superior performance Defendant claimed. Defendant failed to disclose these facts to consumers

at the time they marketed and sold the CPUs. Defendant knowingly and intentionally engaged in




                                                16
         Case 3:18-cv-00667-SI           Document 1    Filed 01/12/18    Page 17 of 25




this concealment in order to boost sales and revenues, maintain its competitive edge in the

industry, and obtain windfall profits.

       60.      Plaintiff and Class Members had no reasonable means of knowing that

Defendant’s representations were false and misleading, or that Defendant had omitted to disclose

material details relating to the Defective CPUs. Plaintiff and Class Members did not and could

not reasonably discover Defendant’s concealment on their own.

       61.      Defendant had a duty to disclose, rather than conceal and suppress, the full scope

and extent of the defects in its CPUs because:

             a. Defendant had exclusive or far superior knowledge of the defect in the CPUs and

                concealment thereof;

             b. The details regarding the defect in the CPUs and concealment thereof were known

                and/or accessible only to Defendant;

             c. Defendant knew Plaintiff and Class Members did not know about the defect in the

                CPUs and concealment thereof and that the untrained observer would not be able

                to detect the inherent defects in the CPUs; and

             d. Defendant made representations and assurances about the qualities of the CPUs,

                including statements about its superior performance and abilities that were

                misleading, deceptive, and incomplete without the disclosure of the fact that the

                Defective CPUs were not designed or manufactured to perform as promised.

       62.      These omitted and concealed facts were material because a reasonable consumer

would rely on them in deciding to purchase Intel CPUs, and because they substantially reduced

the value of the CPUs that Plaintiff’s and Class Members purchased. Whether Defendant’s




                                                 17
         Case 3:18-cv-00667-SI        Document 1      Filed 01/12/18      Page 18 of 25




CPUs were defective would have been an important factor in Plaintiff’s and the Class Members’

decisions to purchase or obtain the CPUs.

        63.    Plaintiff and the Class Members trusted Defendant not to sell them products that

were defective.

        64.    Defendant intentionally and actively concealed and suppressed these material

facts to falsely assure consumers that the Defective CPUs were free from defects, as represented

by Defendant and as reasonably expected by consumers.

        65.    Plaintiff’s and the Class Members were unaware of these omitted material facts

and would have paid less for the CPUs, or would not have purchased them at all, if they had

known of the concealed and suppressed facts. Plaintiff and the Class Members did not receive

the benefit of their bargain due to Defendant’s fraudulent concealment.

        66.    Plaintiff’s and Class Members relied to their detriment upon Defendant’s

reputations, fraudulent misrepresentations, and material omissions in deciding to purchase the

CPUs.

        67.    Defendant’s fraudulent concealment was also uniform across all Class Members;

Defendant concealed from everyone the true nature of the defect in the CPUs, as evinced by

Defendant’s CEO’s stock sale during Defendant’s delayed disclosure to the public.

        68.    As a direct and proximate result of Defendant’s deceit and fraudulent

concealment, including its intentional suppression of the true facts, Plaintiff and the Classes

suffered injury. They purchased Defective CPUs that had a diminished value by reason of

Defendant’s concealment of, and failure to disclose, the defects.

        69.    Plaintiff’s and the Classes sustained damages as a direct and proximate result of

Defendant’s deceit and fraudulent concealment in an amount to be proven at trial.




                                                18
           Case 3:18-cv-00667-SI       Document 1      Filed 01/12/18     Page 19 of 25




          70.   Defendant’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiff’s and Class Members’ rights, with the aim of

enriching Defendant, justifying an award of punitive damages in an amount sufficient to deter

such wrongful conduct in the future.


                                            COUNT II

                       UNJUST ENRICHMENT/QUASI-CONTRACT

          71.   Plaintiff incorporate by reference all the above allegations as if fully set forth

herein.

          72.   Plaintiff brings this cause of action for themselves and on behalf of the

Nationwide Class. In the alternative, Plaintiff brings this claim on behalf of the New Jersey

Subclasses.

          73.   Plaintiff brings this claim as an alternative to the contractual warranty claims

asserted below or due to Defendant’s intentional and deceptive efforts to conceal the defects in

the CPUs and avoid its warranty obligations.

          74.   Defendant received hundreds of millions in revenue from the sale of over

thousands of Defective CPUs.

          75.   These millions in revenue was a benefit conferred upon Intel by Plaintiff and the

Classes, which includes individuals, businesses, municipalities, school districts, universities, and

other consumers across the United States.

          76.   Defendant was unjustly enriched through financial benefits conferred upon it by

Plaintiff and the Classes, in the form of the amounts paid to Defendant for the CPUs.

          77.   Plaintiff and the Classes elected to purchase the Defective CPUs based upon

Defendant’s misrepresentations, deception, and omissions. Defendant knew and understood that



                                                19
           Case 3:18-cv-00667-SI      Document 1      Filed 01/12/18     Page 20 of 25




it would and did receive a financial benefit, and voluntarily accepted the same, from Plaintiff and

the Class when they elected to purchase the Defective CPUs.

          78.   By selecting Intel’s CPUs and purchasing them at a premium price, Plaintiff and

the Class reasonably expected that the Defective CPUs would have the unmatched performance

and security promised by Defendant.

          79.   Therefore, because Defendant will be unjustly enriched if it is allowed to retain

the revenues obtained through falsehoods, deception, and misrepresentations, Plaintiff and each

Class Member are entitled to recover the amount by which Defendant was unjustly enriched at

his or her expense.

          80.   Accordingly, Plaintiff, on behalf of himself and each Class Member, seeks

damages against Defendant in the amounts by which Defendant has been unjustly enriched at

Plaintiff’s and each Class Member’s expense, and such other relief as this Court deems just and

proper.

B.        Claims Brought on Behalf of the New Jersey Subclasses.

                                           COUNT III

                 VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT
                         (N.J. STAT. ANN. § 56:8-1, ET SEQ.)

          81.   Plaintiff realleges and incorporates by reference all preceding allegations as

though fully set forth herein.

          82.   Plaintiff brings this claim on behalf of themselves and the New Jersey Subclasses

against Defendant.

          83.   Defendant and the New Jersey Subclass Members are “persons” within the

meaning of N.J. STAT. ANN. § 56:8-1(d). The Defendant engaged in “sales” of “merchandise”

within the meaning of N.J. STAT. ANN. § 56:8-1(c), (d).




                                                20
         Case 3:18-cv-00667-SI           Document 1   Filed 01/12/18   Page 21 of 25




       84.    The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

act, use or employment by any person of any unconscionable commercial practice, deception,

fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

or omission of any material fact with the intent that others rely upon such concealment,

suppression or omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or not any

person has in fact been misled, deceived or damaged thereby[.]” N.J. STAT. ANN. § 56:8-2.

       85.    In the course of his business, Defendant violated the New Jersey CFA by

knowingly misrepresenting and intentionally concealing material facts regarding the

performance and security of the Defective CPUs, as detailed above. Specifically, in marketing,

offering for sale, and selling the defective CPUs, Defendant engaged in one or more of the

following unfair or deceptive acts or practices which are proscribed by the New Jersey CFA:

                   i. Representing that the CPUs have approval, characteristics, uses, benefits,

                      or qualities that they do not have;

                  ii. Representing that the CPUs are of a particular standard, quality and grade

                      when they are not;

                 iii. Failing to employ technology and systems to promptly detect security

                      vulnerabilities;

                 iv. Unreasonably delaying giving notice to consumers after it became aware

                      of unprecedented security defect;

                  v. Knowingly and fraudulently failing to provide accurate, timely

                      information to consumers about the extent of the security defect and

                      performance degradation; or




                                                21
            Case 3:18-cv-00667-SI      Document 1      Filed 01/12/18    Page 22 of 25




                   vi. Advertising the CPUs with the intent not to sell them as advertised.

       86.      Defendant’s scheme and concealment of the true characteristics of the CPUs were

material to the New Jersey Subclasses, and Defendant misrepresented, concealed, or failed to

disclose the truth with the intention that the New Jersey Subclasses would rely on the

misrepresentations, concealments, and omissions. Had they known the truth, the New Jersey

Subclasses would not have purchased the Defective CPUs, or would have paid significantly less

for them.

       87.      The New Jersey Subclass Members had no way of discerning that Defendant’s

representations were false and misleading, or otherwise learning the facts that Defendant had

concealed or failed to disclose.

       88.      Defendant had an ongoing duty to the New Jersey Subclasses to refrain from

unfair and deceptive practices under the New Jersey CFA in the course of its business.

Specifically, Defendant owed the New Jersey Subclass Members a duty to disclose all the

material facts concerning the CPUs because it possessed exclusive knowledge, it intentionally

concealed it from the New Jersey Subclasses, or it made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

       89.      The New Jersey Subclass Members suffered ascertainable loss and actual

damages as a direct and proximate result of Defendant’s concealment, misrepresentations, and/or

failure to disclose material information.

       90.      Pursuant to N.J. STAT. ANN. § 56:8-19, on behalf of the New Jersey State Clases,

Plaintiff seeks an order awarding damages, treble damages, and any other just and proper relief

available under the New Jersey CFA.




                                                22
         Case 3:18-cv-00667-SI        Document 1      Filed 01/12/18     Page 23 of 25




                                           COUNT IV

                           BREACH OF IMPLIED WARRANTIES
                          (N.J. STAT. ANN. §§ 12A:2-314, 12A:2-315)

       91.     Plaintiff realleges and incorporates by reference all preceding allegations as

though fully set forth herein.

       92.     Plaintiff brings this claim on behalf of himself and the New Jersey Subclasses

against Defendant.

       93.     Defendant is and was at all relevant times a “merchant” with respect to the

Defective CPUs under N.J. STAT. ANN. § 12A:2-104(1), and a “seller” of the Defective CPUs

under N.J. STAT. ANN. § 12A:2-103(1)(d).

       94.     The Defective CPUs are and were at all relevant times “goods” within the

meaning of N.J. STAT. ANN. § 12A:2-105(1).

       95.     A warranty that the CPUs were in merchantable condition and fit for their

ordinary purpose is implied by law pursuant to N.J. STAT. ANN. § 12A:2-314.

       96.     In addition, a warranty that the CPUs were fit for their particular purpose is

implied by law pursuant to N.J. STAT. ANN. § 12A:2-315. Defendant knew at the time of sale of

the CPUs that the New Jersey Subclasses intended to use the CPUs requiring a particular

standard of performance and security, and that the New Jersey Subclasses were relying on

Defendant’s skill and judgment to furnish suitable products for this particular purpose.

       97.     The Defective CPUs, when sold and at all times thereafter, were not in

merchantable condition, not fit for their ordinary purpose, and were not fit for their particular

purpose as a result of their inherent defects, as detailed above. In addition, because any warranty

repairs or replacements offered by Defendant cannot cure the defect in the CPUs, they fail to

cure Defendant’s breach of implied warranties.



                                                 23
          Case 3:18-cv-00667-SI        Document 1       Filed 01/12/18     Page 24 of 25




        98.     As a direct and proximate result of Defendant’s breach of its implied warranties,

the New Jersey Subclass Members have been damaged in an amount to be determined at trial.

        99.     Defendant was provided notice of the issues raised in this Count and this

Complaint as detailed above.

        WHEREFORE, Plaintiff, individually and on behalf of the members of the Nationwide

and New Jersey Subclasses, respectfully request that the Court certify the proposed Nationwide

and New Jersey Subclasses, including designating the named Plaintiff as representative of the

Nationwide Class and the New Jersey Subclass and appointing the undersigned as Class Counsel

under the applicable provisions of Fed. R. Civ. P. 23, and that the Court enter judgment in favor

and against Defendant including the following relief:

        A.      An award of restitution, compensatory damages, and costs for economic loss and

out-of-pocket costs;

        B.      An award of punitive and exemplary damages under applicable law;

        C.      A determination that Defendant is financially responsible for all Class notices and

the administration of class relief;

        D.      An award of any applicable statutory or civil penalties;

        E.      An order requiring Defendant to pay both pre-judgment and post-judgment

interest on any amounts awarded;

        F.      An     award of reasonable counsel fees, plus reimbursement of reasonable

costs, expenses, and disbursements, including reasonable allowances for the fees of experts

        G.      Leave to amend this Complaint to conform to the evidence produced in discovery

and at trial; and

        H.      Any such other and further relief the Court deems just and equitable.




                                                 24
         Case 3:18-cv-00667-SI          Document 1   Filed 01/12/18    Page 25 of 25




                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.

Dated: January 12, 2018                      CARELLA, BRYNE, CECCHI,
                                             OLSTEIN, BRODY & AGNELLO, P.C.

                                             s/ James E. Cecchi
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                                               25
